            Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 1 of 11


                                                                                                         r
                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS                                      20I90CT18        Pt12:3
                                     AUSTIN DIVISION                                          Lit
                                                                                                     'I



                                                                                              pY.___..
Inre:                                                       §                                             c1
                                                            §
Brandi K Stokes, as an individual and on         §
behalf of all family members similarly situated, §                 JLJ9CV1O2J RP
                                                            §
          Protected Persons                                 §
          Pursuant to the Geneva Conventions                §

                                  CLASS ACTION COMPLAINT

           Complainant, Brandi K Stokes, hereby files this Class Action Complaint, individually

and on behalf of all family members similarly situated (hereinafter "Family Members"), Class.

1.        This Class Action Complaint is a civil action seeking protection pursuant to the Geneva

Conventions for Complainant and for the Family Members of Complainant.1 Complainant is a

victim of war crimes that include grave breaches of the Geneva Conventions sufficient in severity

to justify an international war crimes investigation. The Complainant, at this time, has exhausted

remedies within the United States and has perfected an appeal to the International Criminal Court

requesting prosecution of war crimes committed against her and her Family Members from

approximately 2003 onward and for the establishment of a tribunal to receive and prosecute

complaints from all victims of grave breaches of the Geneva Conventions within the United

States.   See   Complainant's Exhibit    1.   The Article 15 Request for Prosecution is currently being

reviewed by the International Criminal Court. See Complainant's Exhibit 2.



1
 Geneva Convention for the Amelioration of the Condition of the Wounded and Sick in Armed Forces in the Field,
Aug. 12, 1949, 6 U.S.T. 3114 (hereinafter Geneva Convention I); Geneva Convention for the Amelioration of the
Condition of Wounded, Sick and Shipwrecked Members of Armed Forces at Sea, Aug. 12, 1949, 6 U.S.T. 3217
(hereinafter Geneva Convention II); Geneva Convention Relative to the Treatment of Prisoners of War, Aug. 12,
1949,6 U.S.T. 3316 (hereinafter Geneva Convention III); Geneva Convention Relative to the Protection of Civilian
Persons in Time of War, Aug. 12, 1949,6 U.S.T. 3516 (hereinafter Geneva Convention LV).


                                                       1
            Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 2 of 11




2.        The Complainant and her Family Members are protected persons pursuant to the Geneva

Conventions and a request for determination of status is pending before the International Criminal

Court.2   This Court has original jurisdiction under 28 U.S.C.                §   1331, which provides that the

"district courts shall have original jurisdiction of all civil actions arising under the Constitution,

laws, or treaties of the United States." As the judicial authority for a High Contracting Party to

the Geneva Conventions, this Court has mandatory jurisdiction over all claims within its territory

seeking Geneva Conventions protection. This Court has broad authority to issue orders necessary

to protect the interests of the Complainant and her Family Members pursuant to a common

provision to the Geneva Conventions providing that "[e]ach High Contracting Party shall take

measures necessary for the suppression of all acts contrary to the provisions of the present

Convention [other than grave breaches requiring               prosecution].3      This Court may not dismiss or

transfer this case to another authority outside of the provisions or procedures provided by the

Geneva     Conventions.4      Because the international appeal has been perfected, there will be no

affirmative defense for any failure to comply with the Geneva Conventions. In other words, no

further action is necessary to confer jurisdiction for the prosecution of all grave breaches of the

Geneva Conventions committed within the United States to the International Criminal Court.

3.         Venue is appropriate in the District Court for the Western District of Texas pursuant to

28 U.S.C.    § 1391 (b)(2),   because the war crimes giving rise to a request for prosecution before the


2
  Although each of the High Contracting Parties have jurisdiction to conduct such a hearing, any determination of
status hearing would require cooperation from the North Atlantic Treaty Organization. As such, the appeal pending
before the International Criminal Court is the most relevant at this time. This court has lost jurisdiction to conduct a
determination of status hearing and must provide protection until a court of competent jurisdiction can make a
determination. If the International Criminal Court cannot make a determination or declines to make a determination,
any High Contracting Party that is not otherwise disqualified may make a determination. The United Nations does
not have direct authority to conduct a determination of status hearing.
  Geneva Conventions I, art. 49; Geneva Conventions II, art. 50; Geneva Conventions III, art. 129; Geneva
Conventions IV, Art. 146.
  See id. (The compulsory language in this common provision of the Geneva Conventions provides mandatory
jurisdiction and an affirmative duty to act.).
            Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 3 of 11




International Criminal Court and further giving rise to a claim for protection pursuant to the

Geneva Conventions occurred in substantial part within the jurisdiction of the Western District

of Texas.

4         Complainant is a veteran with a security clearance background and is currently under a

mandatory reporting obligation. At this time, the United States has thoroughly demonstrated that

it cannot take a report from the Complainant. As such, the next proper reporting authority is the

North Atlantic Treaty Organization ("NATO").5 At this time, Complainant has submitted an

initial unclassified report to NATO regarding the unauthorized access to and misuse of classified

information affecting NATO operations and regarding the ongoing retaliation that the

Complainant has experienced in the aftermath of her initial attempt to report a related issue to the

Federal Bureau of Investigation ("FBI") in 2012.              See   Complainant's Exhibit 3. Complainant

requests protection from retaliation to the fullest extent of all applicable law, including but not

limited to the Geneva Conventions, for herself and for her Family Members.

5.        Complainant and many of her Family Members are members of a minority ethnic group

(Creek Muscogee) that has been the subject of extensive genocide efforts by the United States

government. Complainant requests protection from racial discrimination to the fullest extent of

all applicable law, including but not limited to the Geneva Conventions, for herself and for her

Family Members.

6.        Complainant is a member of a minority genetic group (translocated Y-DNA

chromosomal set) that has been the subject of extensive                 persecution.6    Complainant requests




5Circumstantial evidence suggests that the executive branch of the United States has been captured by a combination
of organized crime and enemy forces. At this time, the Complainant cannot give a report to the United States without
NATO approval.
6
  The Complainant's LGBT status was rightfully and legally undisclosed in the state family law proceedings.

                                                        3
           Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 4 of 11




protection from LGBT discrimination to the fullest extent of all applicable law, including but not

limited to the Geneva Conventions, for herself and for her Family Members.

7.      Complainant actively practices two religions (Christianity and Taoism) that have been the

subject of extensive persecution.7 Complainant requests protection from religious discrimination

to the fullest extent of all applicable law, including but not limited to the Geneva Conventions,

for herself and for her Family Members.

8.        Gross violations of the Complainant's Geneva Conventions rights, human rights, and

civil rights are well documented in multiple cases at both the state and federal level. The pleadings

and evidence submitted by Brandi K Stokes in those cases are incorporated by reference in

Complainant's Exhibit         1   and are hereby incorporated by reference for all purposes in this

proceeding. The first 48 pages of the nearly 17,000 pages of pleadings and evidence available

through the password protected website referenced in Complainant's Exhibit                        1   are included at

Complainant's Exhibit 4. Plaintiff further incorporates by reference all pleadings and evidence

submitted by the Brandi K Stokes in Western District of Texas Case No. 1:19-CV-0754-RP.

9.        Gross violations of the Geneva Conventions rights, human rights, and civil rights of the

Complainant's Family Members have been observed by or reported to the Complainant. For

example, the Complainant's mother has endured harassment so severe as to be reasonably

construable as the proximate cause for the development of a debilitating seizure condition. The

Complainant's father has endured a significant level of medical abuse, and it has been reported

to the Complainant that he has become malnourished.


 The Complainant sincerely practices both religions and sincerely believes that all religions are relevant to God. See
Complainant's Exhibit 5 (Baptism at Hollins Baptist Church was Complainant's second baptism. Complainant's
baptism into the Catholic church was sincere. Christian quote on the inset of Complainant's copy of the Tao Te Ching
demonstrates that the practice of both religions, though rare, is not bizarre. Publication date of 1992 on Complainant's
copy of the Tao Te Ching is close in time to when Complainant began practicing Taoism. Tattering of religious texts
demonstrates usage.)

                                                          4
          Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 5 of 11




10.      Good cause exists for the Court to extend the time for service for an appropriate period.

The Article 15 Request for Prosecution currently pending before the International Criminal Court

is sufficiently broad enough to encompass the prosecution of thousands      of individuals. As such,

there exists a high probability for the number of Defendants ultimately to exceed 100 individuals

or entities. There further exists some probability that some Defendants will dodge service to avoid

being confronted with the difficult issues and allegations presented. At a minimum, Complainant

will be seeking protective order relief against offending individuals or entities in separate motions

and will mail a Notice of Lawsuit and Request to Waive Service of Summons at the time of filing

a motion applicable to a specific individual or entity, unless this Court directs or orders otherwise.

Complainant   will   further request the issuance of Summons for any individual or entity that does

not waive service, as necessary, to ensure compliance with Rule 4 of the Federal Rules of Civil

Procedure. For the purpose of Rule 4 compliance, Complainant further requests that attempted

service made in good faith of this Class Action Complaint along with a Motion for Order of

Protection applicable to a specific individual or entity within 90 days of the filing of the Motion

for Order of Protection be ordered by this Court to be sufficient for the purpose of Rule 4

compliance and that the Court consider alternative methods of service on individuals or entities

that dodge service.

11.      Complainant will notifr known members of the Subclass Immune Family Members by

regular mail or hand delivery. Should a concern arise that any known member of the Subclass

Immune Family Members is not aware of this Class Action Complaint, Complainant will notify

such member by certified or registered mail upon discovery of such a concern. Complainant will

notify members of the Class Family Members using any practical means available, including but

not limited to posting information about the filing of this Class Action Complaint to the
           Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 6 of 11




Ancestry.com website. Complainant will further notify members of the Class Family Members

by word of mouth and anticipates that this method, though unusual, will be the most effective in

this situation. Should a concern arise that any known member of the Class Family Members is

not aware of this Class Action Complaint, Complainant will notify such member by certified or

registered mail upon discovery of such a concern.

12      Pursuant to the Federal Rules of Civil Procedure Rule 23, Complainant brings this class

action and seeks certification of the claims and certain issues in this action on behalf of a Class

entitled "Family Members" and defined as:

        including all persons biologically related to Brandi K Stokes by more than 20
        shared centimorgans of DNA without regard to legitimacy; including all
        persons descended from any 4th great grandparent of Brandi K Stokes
        without regard to biological relatedness; including all persons qualifying as
        stepfamily of Brandi K Stokes and demonstrating a symbolic familial
        relationship to Brandi K Stokes at any point in time prior to May 1, 2019;
        including all Immune Family Members, as defined herein, without regard to
        biological relatedness; including all persons descended from any 7th great
        grandparent of Brandi K Stokes and demonstrating a need for protected
        persons status without regard to biological relatedness; including all persons
        qualifying as the spouse or stepchild of any Family Members, as defined
        herein, and demonstrating a need for protected persons status; and excluding
        all potential war crimes suspects not otherwise immune from war crimes
        prosecution as an Immune Family Member.

13.      Pursuant to the Federal Rules of Civil Procedure Rule 23, Complainant brings this class

action and seeks certification of the claims and certain issues in this action on behalf of a

Subclass entitled "Immune Family Members" and defined as:

         including the following individuals without regard to biological                     relatedness:8


8
  At this juncture, war crimes suspect Christopher Lance Corsbie has publicly published a Facebook post that has
remained publicly displayed for over a year and expressly refers to Sam Bassett and Perry Q. Minton as uncles of
the Complainant's child, Elisabeth Renee Corsbie. While the Minton brothers, David and Perry, are more likely
cousins of rather than uncles of the Complainant's child and while Mr. Sam Bassett has questioned the accuracy of
family history pinpointing him as the biological son of the Complainant's great grandfather, the failure of the Minton
brothers and of Mr. Sam Bassett to issue a cease and desist letter to war crimes suspect Christopher Lance Corsbie
or to take any noticeable action to force removal of the publication constitutes acquiescence to classification as uncles
of the Complainant's child. This acquiescence coupled with circumstantial evidence demonstrating likely biological
           Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 7 of 11




         Brandi K Stokes (Complainant), Elisabeth Renee Corsbie (daughter),
         Kathleen Carolyn Bassett (cousin), Daniel Silas Bassett (cousin), Samuel Earl
         Bassett (grand uncle), Angela Bassett Kennedy (cousin), David Francis
         Minton (cousin), Perry Quihin Minton (cousin), Catherine Jean Wickersham
         Montgomery (sister), Robert Alonzo Wickersham, III (brother), Terry Rena
         Powell a/k/a Tern Powell Wickersham (mother), Elijah Martinez (cousin),
         Jacob Martinez (cousin), Zachary Martinez (cousin), April Powell Martinez
         (aunt), Tinsley Mae Whitfield (cousin), Courtney Nicole Whitfield (cousin),
         James Whitfield (uncle), Wesley Riner (cousin), Jessica Riner Walczak
         (cousin), Patricia Lynn Powell Riner (aunt), Carolyn Jean Whitfield
         (grandmother), Shannon Powell Anderson (cousin), Joseph Anderson
         (cousin), Jada Messer (cousin), Jenna Messer (cousin), Justin Williams
         (cousin), Jody Jerald Quick (cousin), James Edward Gardiner, Jr. (cousin),
         Roy Wayne Stokes (father), Lloyd Neal Powell (grandfather); including all
         persons qualifying as the child of any of these enumerated individuals without
         regard to legitimacy; and including all persons qualifying as the spouse or
         stepchild of any of these enumerated individuals at any time between January
         1, 2003, and May 1, 2019.


14.      The certification of the Subclass Immune Family Members is necessary to distinguish

Family Members who are known to have been targeted for malicious interaction or who were

adversely affected by malicious interaction from approximately January 1, 2003, through May

1, 2019, to an extent so severe as       to effectively negate mens rea for any conduct that could be

construed as a war        crime.9   In addition to protection from any further adverse impact or


relatedness to the Complainant is sufficient to legally classify Mr. Sam Bassett, Mr. Perry Minton, and Mr. David
Minton as family members for the purpose of inclusion in both the Class Family Members and the Subclass Immune
Family Members without further inquiry into relatedness, as such combined evidence demonstrates a symbolic
familial relationship to the Complainant and a heightened need for protected persons status can also be demonstrated.
Likewise, Complainant has publicly stated and publicly published statements expressly identifying Angela Bassett
Kennedy as a cousin without any action being taken by Mrs. Kennedy to force the removal of such publications or
to deny the truth of the matter. Such acquiescence coupled with circumstantial evidence demonstrating relatedness
through a common ancestor ofNative American descent is sufficient to legally classify Mrs. Angela Bassett Kennedy
as a family member for the purpose of inclusion in both the Class Family Members and the Subclass Immune Family
Members without further inquiry into relatedness, as such combined evidence demonstrates a symbolic familial
relationship to the Complainant and a heightened need for protected persons status can also be demonstrated.
  Complainant has included her father and her grandfather in the list of Family Members needing heightened
protection because new information has surfaced since the filing of the Article 15 Request for Prosecution that
indicates to the Complainant that her grandfather and father have been targeted for maltreatment. Both are at risk of
being targeted for medical abuse, and circumstantial evidence suggests that Complainant's father has been targeted
for an extreme level of medical abuse and neglect. At a minimum, the Complainant's grandfather has been targeted
with malicious dissemination of false allegations and false information regarding Family Members in a manner that
has caused or acerbated conflict within the family.

                                                        7
           Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 8 of 11




retaliation, Subclass Immune Family Members are entitled by law to restitution, compensation,

and rehabilitation    services.10   Additionally, many members of the Subclass Immune Family

Members are essential witnesses and all members of the Subclass Immune Family Members are

potential witnesses to the war crimes at issue in the request for prosecution pending before the

International Criminal Court. This Court will be asked to take extraordinary measures to protect

and, as necessary, to rehabilitate the health, welfare, and reputation of these essential and

potential witnesses.

15.      Complainant reserves the right to amend the Class or Subclass definitions if further

investigation and discovery indicates that the Class or Subclass definitions should be narrowed,

expanded, or otherwise modified. Complainant further reserves the right to remove individuals

from the Subclass Immune Family Members if further investigation and discovery clearly

demonstrates that the individual being removed has engaged in conduct or supported any activity

that is reasonably categorized as a war crime after May         1, 2019.   Moreover, Complainant reserves

the right to remove individuals from the Class Family Members if further investigation and

discovery clearly demonstrates that the individual being removed has, at any time, engaged in

conduct or supported any activity that is reasonably categorized as a war crime against another

Class member and the individual being removed is not a member of the Subclass Immune Family

Members. While such individuals may be entitled to Geneva Conventions protection, they are

not entitled to the benefit of collaboration with their victims.

16.      Certification of this class action is appropriate under the Federal Rules of Civil Procedure

Rule 23, because the class is so numerous that joinder of all members is impracticable, there are




10See generally M. Cherif Bassiouni, International Recognition of Victims' Rights, Vol. 6, Iss. 2, Human Rights L.
Rev. 203 (Jun. 1, 2006), available at https://doi.orgll 0.1 O93IhrIr/ng1009 (last visited Oct. 14, 2019).

                                                       ['I
                                                       []
         Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 9 of 11




questions of law or fact common to the class, the claims or defenses of the Complainant are

typical of the claims or defenses of the class, and the Complainant will fairly and adequately

protect the interests of the class. For example, there are over 100,000 members identifiable

through DNA Ancestry alone, and these identifiable members represent a mere fraction of the

number of members qualifying for inclusion in this Class Action Complaint. Moreover, the

request for determination of status pending before the International Criminal Court provides

common questions of law and fact that predominate over questions affecting only individual

members and class action is superior to other available methods for fairly and efficiently

adjudicating the controversies. Further, this Court's authority to "take measures necessary" to

suppress all acts contrary to the Geneva Conventions is sufficiently broad enough to provide this

Court with authority to appoint counsel and to appoint experts should the Complainant need

assistance, and the Complainant has the knowledge and education necessary to make appropriate

requests for assistance. Absent a class action, it would be highly unlikely that members of the

Class or Subclass would be able to protect their own interests. The cost of litigation through

individual lawsuits is prohibitively excessive. The complexity of the questions of law and fact

at issue prevent many, if not most, class members from understanding their rights. The

sophistication of the malicious interaction at issue further prevent many, if not most, class

members from understanding or identifying war crimes committed against them. The benefits

of proceeding as a class action, including providing a method for obtaining redress for claims

that would not be practical to pursue individually, far outweigh any difficulties that may be

argued with regard to the management of this class action.

17.     The sophisticated tactics used by enemy forces, recruits, and sympathizers include subtle

methods of instigating conflict for class members such as re-igniting or acerbating pre-existing
         Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 10 of 11




conflict. The family history at issue in the conflict between the Complainant and Mr. Sam Bassett

is one example   of this strategy being used to subtly instigate conflict in a manner that constitutes

a war crime. In this example, multiple war crimes suspects have engaged in the malicious

dissemination of false allegations and false information in a manner intended to gas-light Family

Members into engaging in a hurtful behavior towards one another.             The genocide problem

mentioned in Paragraph 5 is another example of a pre-existing conflict that is susceptible to being

re-ignited or acerbated for the purpose of making ongoing war crimes appear to be unrelated to

any current motive to harm Family Members. To make matters worse, most, if not all, members

of the Subclass Immune Family Members are descended from Native American ancestors who

were members of the Native American equivalent of royalty and who were viciously pursued for

extermination at a much higher rate than non-royalty. Because the genocide problem is very likely

the most severe and the most difficult from which to recover, any malicious interaction involving

medical malpractice, the dissemination of false information designed to cause conflict between

Family Members, the encouragement of any one Family Member to engage in harmful conduct

toward another Family Member, the legal or emotional alienation or distancing of children within

the Class Family Member, or any action likely to cause severe economic hardship to a Family

Member should be given the highest priority for intervention by this Court.

        Complainant requests that this Court assume jurisdiction over all claims for Geneva

Conventions protection involving the Complainant and her Family Members and to hold this case

open for so long as any Family Member remains entitled to Geneva Conventions protection.

Complainant further requests that this Court render all orders necessary to protect the

Complainant and her Family Members from any conduct adverse to their health, welfare, or

reputation, including but not limited to rendering injunctive relief. Complainant further requests


                                                  10
         Case 1:19-cv-01021-RP Document 1 Filed 10/18/19 Page 11 of 11




that this Court render all orders necessary to protect the integrity of the war crimes investigation

at issue before the International Criminal Court, including but not limited to rendering orders

necessary to compel individuals or entities to preserve evidence or to conduct appropriate

investigations. Complainant requests an award of damages for restitution and compensation for

crimes and torts committed against Complainant and her Immune Family Members other than

grave breaches of the Geneva Conventions. Complainant requests rehabilitative services for

Complainant and her Immune Family Members. Complainant request all other relief available to

Complainant and her Family Members under all applicable law, including but not limited to the

Geneva Conventions.


DATED: October 18, 2019



                                                                       t      J-4-z
                                              Brandi K Stokes, Complainant
                                              Texas State Bar No. 24044940
                                              BRANDI STOKES, Esq.
                                              brandi.stokes@gmail.com
                                              P.O. Box 301916
                                              AUSTiN, TX 78703
                                              +1 512 206 0202




                                                11
